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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

MELBOURNE RIDGE, JR., : Bone oe bfte/own
Plaintiff, :

V. : ORDER

MICHAEL G. DAVIS; EMMANUEL LEON- : 18 CV 8958 (VB)

MARTINEZ; YERMIA SOLOMON; DAVID
A. LINDSAY; and DILLON A. OTTINO,
Defendants.

 

x

By letter dated October 7, 2020, plaintiff identifies several discovery issues and argues
why he is entitled to certain information defendants have not provided. (Doc. #78).

Accordingly, it is HEREBY ORDERED:

1. By October 20, 2020, defendants shall respond to plaintiffs October 7 letter.
Defendants’ response shall not exceed three pages.

2. During the case management conference scheduled for October 22, 2020, the
Court will address the matters raised by plaintiff in his October 7 letter.

Chambers will mail a copy of this Order to plaintiff at the address on the docket.

Dated: October 16, 2020
White Plains, NY

SO ORDERED:_

und

Vincent L. Briccetti
United States District Judge

  

 

 

 
